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                                                          Hearing Date: April 24, 2019 at 9:30 a.m. (Atlantic Time)
                                                      Objection Deadline: April 9, 2019 at 4:00 p.m. (Atlantic Time)

                                  UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF PUERTO RICO
 ---------------------------------------------------------------------- X
                                                                        :
 In re:                                                                 :
                                                                        :
 THE FINANCIAL OVERSIGHT AND                                            : PROMESA
 MANAGEMENT BOARD FOR PUERTO RICO,                                      : Title III
                                                                        :
                   as representative of                                 : Case No. 17-BK-3283 (LTS)
                                                                        :
 THE COMMONWEALTH OF PUERTO RICO et al.,                                : (Jointly Administered)
                                                                        :
                   Debtors.1                                            :
 ---------------------------------------------------------------------- X

       NOTICE OF HEARING OF MOTION OF THE FINANCIAL OVERSIGHT
     AND MANAGEMENT BOARD OF PUERTO RICO FOR ENTRY OF AN ORDER
         EQUITABLY TOLLING THE TIME PRESCRIBED BY 11 U.S.C. § 546
                 TO BRING CERTAIN AVOIDANCE ACTIONS

         PLEASE TAKE NOTICE that on April 2, 2019, the Financial Oversight and

 Management Board, acting by and through its Special Claims Committee (the “Oversight

 Board”), filed a Motion For Entry Of An Order Equitably Tolling The Time Prescribed By 11

 U.S.C. § 546 To Bring Certain Avoidance Actions (the “Motion”).

         PLEASE TAKE FURTHER NOTICE that any responses or objection to the Motion

 (“Objections”) must be in writing, must conform to the Federal Rules of Bankruptcy Procedure

 (the “Bankruptcy Rules”), and must be filed with the Court (a) by registered users of the Court’s

 1   The Debtors in these Title III cases, along with each Debtor’s respective Title III case number and the last four
     (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto
     Rico (Bankruptcy Case No. 17-BK-3283 (LTS)) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico
     Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17-BK-3284 (LTS)) (Last Four Digits of
     Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case
     No. 17-BK-3567 (LTS)) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the
     Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566 (LTS)) (Last
     Four Digits of Federal Tax ID: 9686); and (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy
     Case No. 17-BK-4780 (LTS)) (Last Four Digits of Federal Tax ID: 3747) (Title III case numbers are listed as
     Bankruptcy Case numbers due to software limitations).
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 case filing system, electronically in accordance with rule 5 of the Local Rules for the District of

 Puerto Rico (the “Local District Court Rules”), and (b) by all other parties in interest, on a CD-

 ROM, in text-searchable portable document format (PDF), and served on (i) counsel for the

 Oversight Board, Proskauer Rose LLP, Eleven Times Square, New York, NY 10036-8299 (Attn:

 Martin J. Bienenstock, Esq. Paul V. Possinger, Esq. Ehud Barak, Esq. and Maja Zerjal, Esq.) and

 O’Neill & Borges LLC, 250 Muñoz Rivera Ave., Suite 800, San Juan, PR 00918-1813 (Attn:

 Hermann D. Bauer, Esq.); (ii) the Puerto Rico Fiscal Agency and Financial Advisory Authority,

 Roberto Sánchez Vilella (Minillas) Government Center, De Diego Ave. Stop 22, San Juan,

 Puerto Rico 00907 (Attn: Gerardo J. Portela Franco and Mohammad Yassin, Esq.); (iii) counsel

 for the Puerto Rico Fiscal Agency and Financial Advisory Authority, O’Melveny & Myers LLP,

 7 Times Square, New York, NY 10036 (Attn: John J. Rapisardi, Esq., Suzzanne Uhland, Esq.,

 Peter Friedman, Esq., Nancy A. Mitchell, Esq. and Maria J. DoConza, Esq.) and Marini

 Pietrantoni Muñiz LLC, MCS Plaza, Suite 500, 255 Ponce de León Ave., San Juan, PR 00917

 (Attn: Luis C. Marini-Biaggi, Esq., Carolina Velaz-Rivero, Esq. and María T. Alvarez-Santos,

 Esq.); (iv) counsel for the Creditors’ Committee, Paul Hastings LLP, 200 Park Avenue, New

 York NY 10166 (Attn: Luc A. Despins, Esq., James Bliss, Esq., James Worthington, Esq. and

 G. Alexander Bongartz, Esq.) and Casillas Santiago & Torres LLC, El Caribe Office Building,

 53 Palmeras Street, Ste. 1601, San Juan PR 00901-2419 (Attn: Juan J. Casillas Ayala, Esq.,

 Diana M. Batlle-Barasorda, Esq., Alberto J. E. Atheñeses Negrón, Esq. and Ericka C. Montull-

 Novoa, Esq.); (v) counsel for the Retiree Committee, Jenner & Block LLP, 919 Third Avenue,

 New York, NY 10022 (Attn: Robert Gordon, Esq., Richard Levin, Esq. and Catherine Steege,

 Esq.) and Bennazar, García & Milián, C.S.P., Edificion Union Plaza PH-A piso 18, Avenida

 Ponce de León Ave., San Juan, PR 00918 (Attn: A.J. Benazar-Zequeira, Esq.); (vi) Office of the
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 United States Trustee for Region 21, Edificio Ochoa, 500 Tanca Street, Suite 301, San Juan, PR

 00901-1922; (vii) counsel to the Ad Hoc Group of General Obligation Bondholders, Paul, Weiss,

 Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New York, NY 10019 (Attn:

 Andrew N. Rosenberg, Esq.) and Robbins, Russell, Englert, Orseck, Unterfeiner & Sauber LLP,

 1801 K Street, NW, Washington, D.C. 20006 (Attn: Mark T. Stancil, Esq.) and Jiménez,

 Graffam & Lausell, PO Box 366104, San Juan, PR          00936-6104 (Attn: J. Ramón Rivera

 Morales, Esq.); (viii) counsel to the Ad Hoc Group of Constitutional Debtholders, Morrison &

 Foerster LLP, 250 West 55th Street, New York, NY 10019 (Attn: Gary S. Lee, Esq. and James

 M. Peck, Esq.) and G. Carlo-Altieri Law Offices, LLC, 254 San Jose St., Third Floor, San Juan,

 PR 00901 (Attn: Gerardo A. Carlo, Esq. and Kendra Loomis, Esq.); (ix) counsel to the PBA

 Funds, Morrison & Foerster LLP, 250 West 55th Street, New York, NY 10019 (Attn: Gary S.

 Lee, Esq. and James M. Peck, Esq.) and G. Carlo-Altieri Law Offices, LLC, 254 San Jose St.,

 Third Floor, San Juan, PR 00901 (Attn: Gerardo A. Carlo, Esq. and Kendra Loomis, Esq.); (x)

 counsel to the Commonwealth Bondholder Group, Davis Polk & Wardwell LLP, 450 Lexington

 Avenue, New York, NY 10017 (Attn: Donald S. Bernstein, Esq., Brian M. Resnick, Esq. and

 Angela M. Libby, Esq.); (xi) counsel to the ERS Secured Creditors, Jones Day, 555 South

 Flower Street, Fiftieth Floor, Los Angeles, CA 90071 (Attn: Bruce Bennett, Esq.) and Jones

 Day, 250 Vesey Street, New York, NY 10281 (Attn: Benjamin Rosenblum, Esq.) and Jones

 Day, 51 Louisiana Ave., N.W., Washington, D.C. 20001 (Attn: Geoffrey S. Stewart, Esq., Beth

 Heifetz, Esq. and Sparkle L. Sooknanan, Esq.) and Jones Day, 600 Brickell Avenue, Suite 300,

 Miami, FL 33131 (Attn: Isel M. Perez, Esq.); and Delgado & Fernández, LLC, PO Box 11750,

 Fernández Juncos Station, San Juan, PR 00910-1750 (Attn: Alfredo Fernández-Martínez, Esq.);

 (xii) counsel to the Mutual Fund Group, Kramer Levin Naftalis & Frankel LLP, 1177 Avenue of
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 the Americas, New York, NY 10036 (Attn: Thomas Moers Mayer, Esq., Amy Caton, Esq.,

 Philip Bentley, Esq., David E. Blabey, Jr., Esq. and Douglas Buckley, Esq.) and Toro Colón

 Mullet P.S.C., PO Box 195383, San Juan, PR 00919-5383 (Attn: Manuel Fernández-Bared,

 Esq., Linette Figueroa-Torres, Esq. and Jane Patricia Van Kirk, Esq.; (xiii) counsel to the QTCB

 Noteholder Group, Bracewell, LLP, City Place I, 34th Floor, 185 Asylum Street, Hartford, CT

 06103 (Attn: Kurt A. Mayr, Esq.) and Correa Acevedo & Abesada Law Offices, P.S.C., Centro

 Internacional de Mercadero, Torre II, #90 Carr. 165, Suite 407, Guaynabo, PR 00968 (Attn:

 Roberto Abesada-Agüet, Esq. and Sergio E. Criado, Esq.); (xiv) counsel to the Lawful

 Constitutional Debt Coalition, Quinn Emanuel Urquhart & Sullivan, LLP, 51 Madison Avenue,

 22nd Floor, New York, NY 10010-1603 (Attn: Susheel Kirpalani, Esq., K. John Shaffer, Esq.,

 Daniel Salinas, Esq., Matthew Scheck, Esq., Eric Kay, Esq., Darren Goldman, Esq. and Zachary

 Russell, Esq.) and Reichard & Escalera, 255 Ponce de León Avenue, MCS Plaza, 10th Floor,

 San Juan, PR 00917-1913 (Attn: Rafael Escalera, Esq., Sylvia M. Arizmendo, Esq., Carlos R.

 Rivera-Ortiz, Esq. and Gustavo A. Pabón-Rico, Esq.); (xv) counsel to Bank of New York Mellon

 as agent with respect to the ERS Bonds; (xvi) counsel to the Ad Hoc GO Bondholders; (xvii)

 counsel to any Participant Holders already identified or believed to be identified; (xviii) the

 entities listed on the List of Creditors Holding the 20 Largest Unsecured Claims in COFINA’s

 Title III Case and found at https://cases.primeclerk.com/puertorico/Home-Index.; and (xix)

 counsel to U.S. Bank Trust National Association, Banco Popular de Puerto Rico, Bank of New

 York, and U.S. Bank as agents with respect to the PBA Bonds.

        PLEASE TAKE NOTICE that the date and time of the applicable objection deadline for

 the Motion is April 9, 2019 at 4:00 p.m. (Atlantic Standard Time).
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        PLEASE TAKE NOTICE that the date of the hearing at which the Motion shall be

 considered by the Court is April 24, 2019 at 9:30 a.m. (Atlantic Standard Time) at the United

 States District Court, Federal Building, 150 Carlos Chardon Avenue, San Juan, Puerto Rico

 00918-1767.

        PLEASE TAKE NOTICE that the relief requested in the Motion may be granted by the

 Court without a hearing if no objection is timely filed and served in accordance with the Court’s

 Eighth Amended Notice, Case Management and Administrative Procedures, Docket No. 4866.

        I hereby certify that, on this same date, I electronically filed the foregoing with the clerk
 of Court using the CM/ECF system, which will notify the attorneys of record.

 RESPECTFULLY SUBMITTED,

 In New York, New York, today April 2, 2019.

 Dated: April 2, 2019

 /s/ Edward S. Weisfelner                            /s/ Hermann D. Bauer
 BROWN RUDNICK LLP                                   Hermann D. Bauer
 Edward S. Weisfelner, Esq. (Pro Hac Vice)           USDC No. 215205
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 Stephen A. Best, Esq. (Pro Hac Vice)                and
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 Washington, D.C. 20005                              /s/ Brian S. Rosen
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                                                     Stephen L. Ratner (Pro Hac Vice)
 Sunni P. Beville, Esq. (Pro Hac Vice)               Timothy W. Mungovan (Pro Hac Vice)
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 Counsel to the Financial Oversight and         brosen@proskauer.com
 Management Board, acting through the           sratner@proskauer.com
 Special Claims Committee                       tmungovan@proskauer.com

                                                Bankruptcy Counsel to the Financial Oversight
                                                and Management Board for Puerto Rico, as
                                                representative of the Commonwealth of Puerto
                                                Rico

 /s/ Kenneth C. Suria
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 Alberto Estrella (USDC-PR 209804)
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 Local Counsel to the Financial Oversight and
 Management Board, acting through the
 Special Claims Committee
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